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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                        SAN JOSE DIVISION

                                   6

                                   7     VLSI TECHNOLOGY LLC,                              Case No. 17-cv-05671-BLF
                                   8                    Plaintiff,
                                                                                           ORDER REGARDING SUMMARY
                                   9             v.                                        JUDGMENT HEARING
                                  10     INTEL CORPORATION,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          The hearing set for October 19, 2023, at 9:00 A.M., shall be held IN PERSON in

                                  14   Courtroom 1 of the San Jose District Court, 280 S. First Street, San Jose, California, 95113. No

                                  15   remote appearances will be permitted.

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                                  17          IT IS SO ORDERED.

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                                  19   Dated: October 6, 2023

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                                                                                       BETH LABSON FREEMAN
                                  21                                                   United States District Judge
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